
Per Curiam.
The contract of sale was one which the statute of frauds requires to be in writing, and consequently no addition to, or variation of, the writing could be established by parol evidence. Under the operation of this rule the evidence offered by the defendant for the purpose of showing that it was part of the agreement that the plaintiffs should not lower their trade price of Dickens’ Works, was properly excluded. Brigg v. Hilton, 99 N. Y. 517, is not in point, because in that case there was no written contract.
In computing the amount for which the verdict was directed, the court gave to the defendant the benefit of all deductions which it could rightfully claim. Under these circumstances it was not error to refuse to permit the jury to assess the damages counterclaimed by the defendant.
Upon the whole case substantial justice seems to have been done, and the judgment and order appealed from should be affirmed with costs.
